                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - DETROIT

  IN THE MATTER OF:                                      CHAPTER 13
  MELISSA ANN VANN                                       CASE NO. 22-46542-MAR
                                                         JUDGE MARK A RANDON
  Debtor
                                          /

  TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO MAKE PAYMENTS AND FOR FAILURE
                     TO REMIT TAX REFUNDS TO THE TRUSTEE
      NOW COMES the Chapter 13 Trustee, Krispen S. Carroll, and moves this Honorable Court

for dismissal of the above-captioned matter pursuant to 11 U.S.C. §1307 (c) and in support

thereof states as follows:

     1. This motion is brought pursuant to 11 U.S.C. §1307 (c)(6).
     2. This Chapter 13 case was confirmed on November 12, 2022 and is set to expire on

           November 12, 2025.

     3. That the Debtor's failure to make payments is a material default in the terms of the

           confirmed Chapter 13 plan for which dismissal or conversion of the case is appropriate.

     4. That under the terms of the Debtor's confirmed Chapter 13 Plan, as last modified, if

           any, Section V.W, the Debtor was obligated to serve the Chapter 13 Trustee all

           required Federal Income Tax Returns.




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     5. That under the terms of the Debtor's confirmed Chapter 13 Plan, as last modified, if

         any, section II.C, the Debtor was obligated to remit a portion of tax refunds to which

         they became entitled to during the pendency of the Chapter 13 Plan.



     6. That based upon information and belief, the Debtor has not served tax

         returns/remitted refunds to the Trustee as ordered by this Honorable Court.

     7. That the Debtor's failure to serve the tax returns/remit the tax refunds is a material

         default in the terms of the confirmed Chapter 13 Plan for which dismissal or conversion

         is appropriate.

     8. The Chapter 13 Trustee sought concurrence of debtor's counsel in the relief requested

         on June 17, 2024, but at the time of filing this motion, such concurrence had not been

         given.

      WHEREFORE, the Chapter 13 Trustee requests this Honorable Court dismiss the above

captioned matter due to a material default in the terms of the Confirmed Plan.
                                 OFFICE OF THE CHAPTER 13 STANDING TRUSTEE-DETROIT
                                 Krispen S. Carroll, Chapter 13 Standing Trustee


  June 27, 2024                  /s/ KRISPEN S. CARROLL
                                 KRISPEN S. CARROLL (P49817)
                                 719 Griswold Street, Suite 1100
                                 Detroit, MI 48226
                                 (313) 962-5035
                                 notice@det13ksc.com




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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - DETROIT
  IN THE MATTER OF:                                           CHAPTER 13
                                                              CASE NO. 22-46542-MAR
  MELISSA ANN VANN
                                                              JUDGE MARK A RANDON
  Debtor                                    /


                                     ORDER DISMISSING CASE
      This matter having come to be heard upon the Trustee's Motion to Dismiss for Failure to

Make Payments and for Failure to Remit Tax Refunds to the Trustee filed pursuant to 11 U.S.C.

§1307 (c)(6), notice having been duly give and an opportunity for hearing having been

provided, and based upon the records of the court herein, the Court finds that the relief

requested is warranted, and the Court being otherwise sufficiently advised in the premises;

      IT IS HEREBY ORDERED that the Chapter 13 Case of the Debtor herein be and the same

hereby is dismissed for the failure to make the payments and failure to serve tax returns/remit

tax refunds as required under the Chapter 13 Plan, which constitutes a material default in the

      IT IS FURTHER ORDERED that the Clerk of the Court shall immediately provide notice of

the entry of this order to all creditors listed in this case, the Debtor, Debtor's attorney, if any, and

the Trustee;
      IT IS FURTHER ORDERED that Krispen S. Carroll, Trustee, is discharged as Trustee and the

Trustee and her surety is released from any and all liability on account of the within proceeding;



                                                 U.S. BANKRUPTCY JUDGE
                                            EXHIBIT "A"
    JB
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Official Form 420A (Notice of Motion or Objection) (12/16)


                                                   UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF MICHIGAN
                                                     SOUTHERN DIVISION - DETROIT
In re                                                                                 CHAPTER 13
MELISSA ANN VANN                                                                      CASE NO. 22-46542-MAR
                                                                                      JUDGE MARK A RANDON




                                    Debtor
Address
26916 ANDOVER ST
INKSTER, MI 48141-3186



Last four digits of Social Security or Individual Tax-payer Identification
(ITIN) No(s).,(if any): 0507

Employer's Tax Identification (EIN) No(s).(if any):

                                               NOTICE OF TRUSTEE'S MOTION TO DISMISS

       The Chapter 13 Trustee has filed papers with the court to dismiss the above-captioned case.
       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult with one.)
       If you do not want the court to dismiss the above-captioned case or if you want the court to consider your
views on the Trustee's motion, within 14 days, you or your attorney must:
          1.         File with the court a written response or an answer, explaining your position at (1):

                                                         United States Bankruptcy Court
                                                         211 W. Fort Street, Suite 2100
                                                               Detroit, MI 48226

       If you mail your response to the court for filing, you must mail it early enough so the court will receive it on
or before the date stated above. All attorneys are required to file pleadings electronically.
                     You must also send a copy to:

                                           OFFICE OF THE CHAPTER 13 TRUSTEE - DETROIT
                                                    ATTN: MOTION DEPARTMENT
                                                  719 Griswold Street, Suite 1100
                                                        Detroit, MI 48226


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      2.       If a response or answer is timely filed and served, the clerk will schedule a hearing on the Motion
and you will be served with a notice of the date, time and location of the hearing.
        If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion and may enter an order granting that relief.

                                                      OFFICE OF THE CHAPTER 13 STANDING TRUSTEE-DETROIT
                                                      Krispen S. Carroll, Chapter 13 Standing Trustee

June 27, 2024                                         /s/ KRISPEN S. CARROLL
                                                      KRISPEN S. CARROLL (P49817)
                                                      719 Griswold Street, Suite 1100
                                                      Detroit, MI 48226
                                                      (313) 962-5035
                                                      notice@det13ksc.com



    1 Response or answer must comply with F.R.Civ.P.8(b), (c) and (e)




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                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION - DETROIT
  IN THE MATTER OF:                      CHAPTER 13
  MELISSA ANN VANN                       CASE NO. 22-46542-MAR
                                         JUDGE MARK A RANDON
  Debtor
                                            /


                                     CERTIFICATE OF MAILING
       I hereby certify that on the date indicated below, I electronically filed TRUSTEE'S

MOTION TO DISMISS, NOTICE OF TRUSTEE'S MOTION TO DISMISS and CERTIFICATE OF

MAILING with the Clerk of the Court using the ECF system which will send notification of such

filing to the following:
  ROBERT KEYES LAW PLLC
  300 NORTH HURON STREET
  YPSILANTI, MI 48197



and I hereby certify that I have mailed by United States Postal Service the above mentioned

documents to the following non-ECF participants:


  Melissa Ann Vann
  26916 Andover St
  Inkster, MI 48141-3186




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June 27, 2024                          /s/ Jamie Basharrah
                                       JAMIE BASHARRAH
                                       For the Office of the Chapter 13 Trustee-Detroit
                                       719 Griswold Street, Suite 1100
                                       Detroit, MI 48226
                                       (313) 962-5035
                                       notice@det13ksc.com




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